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                                IN THE UNITED STATES DISTRICT COURT FOR THE
                                               WESTERN DISTRICT OF MISSOURI
                                                    WESTERN DIVISION

UNITED STATES OF AMERICA

-vs-                                                                      03-00276-01-CR-W-SOW

JAMES E. WATERS

                                                                          USM Number: 16608-045

                                                                          Bob Kuchar, AFPD


___________________________________

                                        AMENDED JUDGMENT IN A CRIMINAL CASE
                                      (For Revocation of Probation or Supervised Release)

Date of Original or Last Amended Judgment:                         April 6, 2011

Reason for Amendment:                 Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
** Amended to reflect the imposition of previously imposed special conditions of supervised release. **

THE DEFENDANT: admitted guilt to violation of mandatory and standard condition(s) of the term of supervision.

The defendant is adjudicated guilty of these violation(s):



    Violation Number                                  Nature of Violation                                Violation Ended

        Mandatory              The defendant shall not commit another federal, state, or                    7/23/2008
                               local crime.

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant’s economic circumstances.

                                                                                   Date of Imposition of Sentence: 4/6/2011



                                                                                   /s/Scott O. Wright
                                                                                   SCOTT O. WRIGHT
                                                                                   SENIOR UNITED STATES DISTRICT JUDGE

                                                                                   4/13/2011



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                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 24 Months. Sentence to run concurrent w/Buchanan County, Missouri Circuit Court Case No. 08-BU-
CR01806-01 and 1 day.


         The defendant is remanded to the custody of the United States Marshal.




                                                                   RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________


at _____________________________________________, with a certified copy of this judgment.


                                                                              __________________________________
                                                                                     UNITED STATES MARSHAL


                                                                            By:__________________________________
                                                                                        Deputy U.S. Marshal




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                                                     SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of 2 years.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from custody of the Bureau of Prisons.

         The defendant shall not commit another federal, state or local crime.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

       If this judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or probation officer;

2.       The defendant shall report to the probation officer and shall submit a truthful and complete written report within the
         first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
         by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
         person convicted of a felony, unless granted permission to do so by the probation officer;

10.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
         confiscation of any contraband observed in plain view by the probation officer;

11.      The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a
         law enforcement officer;



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12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the permission of the court;

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
         notifications and to confirm the defendant’s compliance with such notification requirement.



                              ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

**The defendant shall comply with the previously imposed additional conditions of supervised release as well as:**


1.       The defendant will reside in and satisfactorily participate in a residential reentry center program, until discharged by
         the center director after consultation with the Probation Office, for a period not to exceed 120 days.



                                      ACKNOWLEDGMENT OF CONDITIONS

        I have read or have had read to me the conditions of supervision set forth in this judgment and I fully understand them.
I have been provided a copy of them.

        I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

_______________________________________                       ____________________
Defendant                                                     Date

________________________________________                      ____________________
United States Probation Officer                                Date




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